Case 3:12-cr-00003-DHB-BKE Document 827 Filed 03/11/15 Page 1 of 1



                           IN THE UNITED STATES DISTRICT COURT
                                   SOIITHERN DISTRICT OF GEORGIA
                                          DUBLIN DIVISION
                                                                                                                               t0ltilAnI I nil
UN]TED STATES OF AMER]CA

         VS.                                                                                cR 312-003

KEMO PAULDO



                                                                              ORDER


         The Clerk of Court received                                                 Defendant's motion for                          reductton

of      sentence under 18 U.S.C.                                               S 3582(c) (2) on February                             I8,   2015,

even      though                   the                  motion           is     dated       November L,                 20L4t         and     his

transmittal                    fetter                       is    dated November L2, 2014.r                             On January 28.

2AI5,         the          Court                  granted            a reduction               to      Defendant               based upon
                           '782
Amendment                                  to               the    United           States         Sentencinq                 Guidelines.

AccordingJ y,                       che February                              18,    2015 moLion                  (doc.       no.      826)    is

DENIED AS MOOT.                                         The Clerk              is    directed         to      send a copv of                  the

Court's         Order of January 28, 201,5, co Defendant with                                                                  the service

nnnrr    nf      t-hi      a      nrrlar



         O R D E RE N T E R E Da t A u g u s t a ,                                  Georgia,         this

2015.




                                                                                            UNITED S                    D I S T R IC T




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                            yvJ                         ^
